        Case 2:22-cv-00047-GW-GJS            Document 30-2     Filed 03/08/22    Page 1 of 11 Page ID
                                                    #:193

                   1   LATHAM & WATKINS LLP
                         Daniel M. Wall (Bar No. 102580)
                   2       dan.wall@lw.com
                         Timothy L. O’Mara (Bar No. 212731)
                   3       tim.o’mara@lw.com
                         Andrew M. Gass (Bar No. 259694)
                   4       andrew.gass@lw.com
                         Kirsten M. Ferguson (Bar No. 252781)
                   5       kirsten.ferguson@lw.com
                         Alicia R. Jovais (Bar No. 296172)
                   6       alicia.jovais@lw.com
                       505 Montgomery Street, Suite 2000
                   7   San Francisco, California 94111-6538
                       Telephone: +1.415.391.0600
                   8   Facsimile: +1.415.395.8095
                   9   Attorneys for Defendants Ticketmaster L.L.C.
                       and Live Nation Entertainment, Inc.
              10
              11
                                          UNITED STATES DISTRICT COURT
              12
                                        CENTRAL DISTRICT OF CALIFORNIA
              13
              14
                       Skot Heckman, Luis Ponce, Jeanene           Case No. 2:22-cv-00047-GW-GJS
              15       Popp, and Jacob Roberts, on behalf of
                       themselves and all those similarly
              16       situated,                                   DECLARATION OF HELENE
                                                                   GREEN IN SUPPORT OF
              17                         Plaintiffs,               DEFENDANTS’ MOTION TO
              18                                                   COMPEL ARBITRATION
                       v.
              19                                                   The Honorable George H. Wu
                       Live Nation Entertainment, Inc., and
              20       Ticketmaster LLC,
              21                         Defendants.               Hearing Date: May 26, 2022
              22                                                   Hearing Time: 8:30 a.m.
              23                                                   Courtroom: 9D, 9th Floor
              24
              25
              26
              27
              28
                                                                                DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                  CASE NO. 2:22-CV-00047-GW-GJS
        Case 2:22-cv-00047-GW-GJS             Document 30-2    Filed 03/08/22    Page 2 of 11 Page ID
                                                     #:194

                   1 I, HELENE GREEN, declare as follows:
                   2         1.    I am the Coordinator of Litigation and eDiscovery for Live Nation
                   3 Entertainment, Inc. (“Live Nation”), a Defendant in the above-entitled action and
                   4 the parent company of Defendant Ticketmaster L.L.C. (“Ticketmaster”). I make this
                   5 Declaration in support of Defendants’ Motion to Compel Arbitration. The facts set
                   6 forth herein are based on my personal knowledge and my review of Ticketmaster
                   7 and Live Nation’s records; if called upon to do so, I can and will competently testify
                   8 to these facts.
                   9         2.    I have worked for Live Nation for the past 13 years. Since November
              10 2021, I have held the position of Coordinator of Litigation and eDiscovery. My
              11 responsibilities in this role include gathering customer data for legal purposes. It is
              12 the regular practice of Ticketmaster and Live Nation to create and maintain records
              13 of when customers create their accounts, sign into their accounts, and make online
              14 purchases. In my role as Coordinator of Litigation and eDiscovery, I am familiar
              15 with those records, have access to them, and rely on them to carry out my job
              16 responsibilities.
              17
                                                   Plaintiff Skot Heckman
              18
              19             3.    I understand that Plaintiff Skot Heckman alleges that (a) he “is a
              20 resident of San Bruno, California,” and (b) he “purchased primary and secondary
              21 tickets … for events at major concert venues from Defendants’ online platform
              22 within the class period, including after Defendants adopted the New Era
              23 agreement”—i.e., between 2010 and the present. Compl. ¶¶ 25, 131, ECF No. 1.
              24             4.    I directed a search of Ticketmaster’s customer records database (which
              25 includes both Ticketmaster and Live Nation’s ticket purchase transaction data) for
              26 account activity and purchases made by anyone named Skot Heckman between 2010
              27 and the present. I identified one Skot Heckman with an address in San Bruno,
              28 California. There was no record of any other customer named Skot Heckman in the
                                                                                DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   1                CASE NO. 2:22-CV-00047-GW-GJS
        Case 2:22-cv-00047-GW-GJS             Document 30-2    Filed 03/08/22    Page 3 of 11 Page ID
                                                     #:195

                   1 San Bruno, California area who used any Ticketmaster or Live Nation website to
                   2 purchase tickets during this period.
                   3        5.     The customer records database shows that Plaintiff Skot Heckman used
                   4 Ticketmaster and Live Nation’s websites to purchase primary and secondary tickets
                   5 on a number of occasions between 2010 and the present. Specifically, Heckman
                   6 used the Ticketmaster desktop site, the Ticketmaster mobile site, and the Live Nation
                   7 desktop site to purchase tickets more than 30 times during this period.
                   8        6.     For example, since July 2, 2021, Heckman has made the following
                   9 purchases on the Ticketmaster desktop site:
              10                   a. On July 23, 2021, Heckman used the Ticketmaster desktop site to
              11                      purchase primary tickets to Metallica: Sunday Show Only to be held
              12                      at the Chase Center on December 19, 2021.
              13                   b. On August 4, 2021, Heckman used the Ticketmaster desktop site to
              14                      purchase primary tickets to the Guns N’ Roses 2021 Tour to be held
              15                      at the SAP Center in San Jose on August 25, 2021.
              16                   c. On November 18, 2021, Heckman used the Ticketmaster desktop
              17                      site to purchase primary tickets to Journey: Freedom Tour 2022 to
              18                      be held at the Chase Center on March 31, 2022.
              19                   d. On November 21, 2021, Heckman used the Ticketmaster desktop
              20                      site to purchase primary tickets to Golden State Warriors versus
              21                      Sacramento Kings to be held at the Chase Center on December 20,
              22                      2021.
              23            7.     Also, as an example of a pre-July 2, 2021 purchase: on July 1, 2021,
              24 Heckman used the Ticketmaster mobile site to purchase primary tickets to The Bay
              25 Strikes Back Tour with Testament, Exodus, and Death Angel to be held at the Fox
              26 Theater in Oakland on November 27, 2021.
              27            8.     Certain events for which Heckman purchased tickets after July 2, 2021
              28 had protocols related to COVID-19 in place when he made the purchase, while
                                                                                DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  2                 CASE NO. 2:22-CV-00047-GW-GJS
        Case 2:22-cv-00047-GW-GJS            Document 30-2     Filed 03/08/22    Page 4 of 11 Page ID
                                                    #:196

                   1 others did not. For instance, the Golden State Warriors game at the Chase Center on
                   2 December 20, 2021 (¶ 6(d), above) had special protocols related to COVID-19 in
                   3 place as of the date of Heckman’s ticket purchase. By contrast, the Metallica:
                   4 Sunday Show Only event at the Chase Center on December 19, 2021 (¶ 6(a), above)
                   5 did not have any special COVID-19 protocols in place as of the date of Heckman’s
                   6 ticket purchase.
                   7        9.     I further directed a search of Ticketmaster’s customer records database
                   8 (which includes both Ticketmaster and Live Nation’s account creation data) for the
                   9 creation date associated with the account that Heckman used to purchase tickets on
              10 more than 30 occasions. This account was created on February 28, 2014.
              11
                                                     Plaintiff Luis Ponce
              12
              13            10.    I understand that Plaintiff Luis Ponce alleges that (a) he “is a resident
              14 of Coral Springs, Florida,” and (b) he “purchased primary tickets … for events at
              15 major concert venues from Defendants’ online platform within the class period,
              16 including after Defendants adopted the New Era agreement”—i.e., between 2010
              17 and the present. Compl. ¶¶ 26, 131.
              18            11.    I directed a search of Ticketmaster’s customer records database (which
              19 includes both Ticketmaster and Live Nation’s ticket purchase transaction data) for
              20 account activity and purchases made by anyone named Luis Ponce between 2010
              21 and the present. I identified one Luis Ponce with an address in Coral Springs,
              22 Florida. There was no record of any other customer named Luis Ponce in the Coral
              23 Springs, Florida area who used any Ticketmaster or Live Nation website to purchase
              24 tickets during this period.
              25            12.    The customer records database shows that Plaintiff Luis Ponce used
              26 Ticketmaster and Live Nation’s websites to purchase primary tickets on a number
              27 of occasions between 2010 and the present. Specifically, Ponce used the
              28 Ticketmaster desktop site, the Ticketmaster mobile site, the Live Nation desktop
                                                                                DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   3                CASE NO. 2:22-CV-00047-GW-GJS
        Case 2:22-cv-00047-GW-GJS            Document 30-2     Filed 03/08/22    Page 5 of 11 Page ID
                                                    #:197

                   1 site, and the Live Nation mobile site to purchase primary tickets more than 50 times
                   2 during this period.
                   3        13.    For example, since July 2, 2021, Ponce has made the following
                   4 purchases on the Ticketmaster mobile site:
                   5               a. On August 5, 2021, Ponce used the Ticketmaster mobile site to
                   6                  purchase primary tickets to Disco Divas: A Tribute to Diana Ross &
                   7                  Donna Summer to be held at Aventura Arts & Cultural Center on
                   8                  January 15, 2022.
                   9               b. On August 21, 2021, Ponce used the Ticketmaster mobile site to
              10                      purchase primary tickets to Daryl Hall & John Oates to be held at
              11                      Hard Rock Live on September 22, 2021.
              12                   c. On September 6, 2021, Ponce used the Ticketmaster mobile site to
              13                      purchase primary tickets to Rick Springfield to be held at Lillian S.
              14                      Wells Hall at The Parker on September 26, 2021.
              15                   d. On September 21, 2021, Ponce used the Ticketmaster mobile site to
              16                      purchase primary tickets to Pat Benatar & Neil Giraldo to be held at
              17                      Lillian S. Wells Hall at The Parker on October 16, 2021.
              18                   e. On November 18, 2021, Ponce used the Ticketmaster mobile site to
              19                      purchase primary tickets to Andrea Bocelli to be held at FLA Live
              20                      Arena on February 14, 2022.
              21            14.    Also, as an example of a pre-July 2, 2021 purchase: on March 18, 2021,
              22 Ponce used the Ticketmaster mobile site to purchase primary tickets to One Night of
              23 Queen Performed by Gary Mullen and The Works to be held at Lillian S. Wells Hall
              24 at The Parker on May 12, 2022.
              25            15.    I did not locate any secondary ticket purchases by Plaintiff Luis Ponce
              26 in the customer records database.
              27
              28
                                                                                DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  4                 CASE NO. 2:22-CV-00047-GW-GJS
        Case 2:22-cv-00047-GW-GJS            Document 30-2     Filed 03/08/22    Page 6 of 11 Page ID
                                                    #:198

                   1        16.    None of the events for which Ponce purchased tickets after July 2, 2021
                   2 had special protocols related to COVID-19 in place when he made his ticket
                   3 purchases.
                   4        17.    I further directed a search of Ticketmaster’s customer records database
                   5 (which includes both Ticketmaster and Live Nation’s account creation data) for the
                   6 creation date associated with the account that Ponce used to purchase tickets on more
                   7 than 50 occasions. This account was created on September 21, 2004.
                   8
                                                    Plaintiff Jeanene Popp
                   9
              10            18.    I understand that Plaintiff Jeanene Popp alleges that (a) she “is a
              11 resident of Clayton, Ohio,” and (b) she “purchased primary tickets … for events at
              12 major concert venues from Defendants’ online platform within the class period,
              13 including after Defendants adopted the New Era agreement”—i.e., between 2010
              14 and the present. Compl. ¶¶ 27, 131.
              15            19.    I directed a search of Ticketmaster’s customer records database (which
              16 includes both Ticketmaster and Live Nation’s ticket purchase transaction data) for
              17 account activity and purchases made by anyone named Jeanene Popp between 2010
              18 and the present. I identified one Jeanene Popp with an address in the Clayton, Ohio
              19 area. There was no record of any other customer named Jeanene Popp in the
              20 Clayton, Ohio area who used any Ticketmaster or Live Nation website to purchase
              21 tickets during this period.
              22            20.    The customer records database shows that Plaintiff Jeanene Popp used
              23 Ticketmaster and Live Nation’s websites to purchase primary and secondary tickets
              24 on a number of occasions between 2010 and the present. Specifically, Popp used
              25 the Ticketmaster desktop site, the Ticketmaster mobile site, and the Live Nation
              26 desktop site to purchase tickets more than 30 times during this period.
              27            21.    For example, since July 2, 2021, Popp has made the following
              28 purchases on the Ticketmaster mobile and desktop sites:
                                                                                DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  5                 CASE NO. 2:22-CV-00047-GW-GJS
        Case 2:22-cv-00047-GW-GJS       Document 30-2    Filed 03/08/22    Page 7 of 11 Page ID
                                               #:199

                   1          a. On July 15, 2021, Popp used the Ticketmaster mobile site to
                   2             purchase primary tickets to Pat Benatar & Neil Giraldo to be held at
                   3             Canton Palace Theater on September 19, 2021.
                   4          b. On July 30, 2021, Popp used the Ticketmaster desktop site to
                   5             purchase primary tickets to Cheap Trick, Joan Jett & The
                   6             Blackhearts to be held at PNC Pavilion on August 27, 2021.
                   7          c. On August 2, 2021, Popp used the Ticketmaster desktop site to
                   8             purchase primary tickets to Daughtry: The Dearly Beloved Tour to
                   9             be held at Andrew J. Brady Music Center on November 2, 2021.
              10              d. On August 28, 2021, Popp used the Ticketmaster mobile site to
              11                 purchase primary tickets to Cheap Trick to be held at Packard Music
              12                 Hall on November 10, 2021.
              13              e. On September 4, 2021, Popp used the Ticketmaster mobile site to
              14                 purchase primary tickets to John Legend to be held at The Rose
              15                 Music Center at The Heights on September 4, 2021.
              16              f. On September 30, 2021, Popp used the Ticketmaster mobile site to
              17                 purchase primary tickets to LeAnn Rimes to be held at Taft Theater
              18                 on December 15, 2021.
              19              g. On September 30, 2021, Popp used the Ticketmaster mobile site to
              20                 purchase primary tickets to Rick Springfield to be held at Andrew J.
              21                 Brady Music Center on December 29, 2021.
              22              h. On November 27, 2021, Popp used the Ticketmaster mobile site to
              23                 purchase primary tickets to WTTS Rock to Read Presents: An
              24                 Evening with Billy Idol & Steve Stevens to be held at Old National
              25                 Centre on November 27, 2021.
              26        22.   Also, as an example of a pre-July 2, 2021 purchase: on April 30, 2021,
              27 Popp used the Ticketmaster desktop site to purchase primary tickets to REO
              28 Speedwagon to be held at The Rose Music Center at The Heights on June 30, 2021.
                                                                          DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                             6                CASE NO. 2:22-CV-00047-GW-GJS
        Case 2:22-cv-00047-GW-GJS             Document 30-2      Filed 03/08/22    Page 8 of 11 Page ID
                                                     #:200

                   1        23.    Certain events for which Popp purchased tickets after July 2, 2021 had
                   2 special protocols related to COVID-19 in place when she made the purchase, while
                   3 others did not. For instance, the WTTS Rock to Read Presents: An Evening with
                   4 Billy Idol & Steve Stevens event at the Old National Centre on November 27, 2021
                   5 (¶ 21(h), above) had special protocols related to COVID-19 in place as of the date
                   6 of Popp’s ticket purchase. By contrast, the Cheap Trick, Joan Jett & The Blackhearts
                   7 event at PNC Pavilion on August 27, 2021 (¶ 21(b), above) did not have any special
                   8 COVID-19 protocols in place as of the date of Popp’s ticket purchase.
                   9        24.    I further directed a search of Ticketmaster’s customer records database
              10 (which includes both Ticketmaster and Live Nation’s account creation data) for the
              11 creation date associated with the account that Popp used to purchase tickets on more
              12 than 30 occasions. This account was created on February 24, 2015.
              13
                                                    Plaintiff Jacob Roberts
              14
              15            25.    I understand that Plaintiff Jacob Roberts alleges that (a) he “is a resident
              16 of Fort Lauderdale, Florida,” and (b) he “purchased primary tickets … for events at
              17 major concert venues from Defendants’ online platform within the class period,
              18 including after Defendants adopted the New Era agreement”—i.e., between 2010
              19 and the present. Compl. ¶¶ 28, 131. I further understand that Roberts resides
              20 specifically in the town of Davie, Florida.
              21            26.    I directed a search of Ticketmaster’s customer records database (which
              22 includes both Ticketmaster and Live Nation’s ticket purchase transaction data) for
              23 account activity and purchases made by anyone named Jacob Roberts between 2010
              24 and the present. I identified one Jacob Roberts with an address in Davie, Florida.
              25 There was no record of any other customer named Jacobs Roberts in the Davie,
              26 Florida area who used any Ticketmaster or Live Nation website to purchase tickets
              27 during this period.
              28
                                                                                  DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    7                 CASE NO. 2:22-CV-00047-GW-GJS
        Case 2:22-cv-00047-GW-GJS             Document 30-2   Filed 03/08/22    Page 9 of 11 Page ID
                                                     #:201

                   1        27.    The customer records database shows that Plaintiff Jacob Roberts used
                   2 Ticketmaster and Live Nation’s websites to purchase primary tickets on a number
                   3 of occasions between 2010 and the present.          Specifically, Roberts used the
                   4 Ticketmaster desktop site, the Ticketmaster mobile site, the Live Nation desktop
                   5 site, and the Live Nation mobile site to purchase primary tickets more than 90 times
                   6 during this period.
                   7        28.    For example, since July 2, 2021, Roberts has made the following
                   8 purchases on the Ticketmaster and Live Nation desktop and mobile sites:
                   9               a. On July 27, 2021, Roberts used the Ticketmaster mobile site to
              10                      purchase primary tickets to Alanis Morissette with Special Guest
              11                      Garbage to be held at iTHINK Financial Amphitheatre on August
              12                      18, 2021.
              13                   b. On September 10, 2021, Roberts used the Ticketmaster desktop site
              14                      to purchase primary tickets to Tampa Bay Buccaneers versus
              15                      Atlanta Falcons to be held at Raymond James Stadium on
              16                      September 19, 2021.
              17                   c. On September 10, 2021, Roberts used the Ticketmaster desktop site
              18                      to purchase primary tickets to The Nightmare Before Christmas to
              19                      be held at Banc of California Stadium on October 31, 2021.
              20                   d. On October 6, 2021, Roberts used the Live Nation mobile site to
              21                      purchase primary tickets to Jimmy Buffett and the Coral Reefer
              22                      Band to be held at iTHINK Financial Amphitheatre on December 9,
              23                      2021.
              24                   e. On November 1, 2021, Roberts used the Live Nation desktop site to
              25                      purchase primary tickets to Conan O’Brien Needs A Friend to be
              26                      held at The Wiltern on November 3, 2021.
              27
              28
                                                                               DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  8                CASE NO. 2:22-CV-00047-GW-GJS
         Case 2:22-cv-00047-GW-GJS        Document 30-2    Filed 03/08/22     Page 10 of 11 Page
                                               ID #:202

                   1           f. On November 5, 2021, Roberts used the Ticketmaster desktop site
                   2              to purchase primary tickets to Sebastian Bach to be held at the
                   3              Culture Room on November 6, 2021.
                   4           g. On November 28, 2021, Roberts used the Live Nation mobile site to
                   5              purchase primary tickets to 97X Next Big Thing to be held at Credit
                   6              Union Amphitheatre at the FL State Fairgrounds on December 4,
                   7              2021.
                   8           h. On December 7, 2021, Roberts used the Live Nation desktop site to
                   9              purchase primary tickets to Iron Maiden: Legacy of the Beast World
              10                  Tour 2022 to be held at USANA Amphitheatre on September 19,
              11                  2022.
              12               i. On December 10, 2021, Roberts used the Ticketmaster mobile site
              13                  to purchase primary tickets to Weird Al Yankovic: Unfortunate
              14                  Return of the Ill-Advised Vanity Tour to be held at Lillian S. Wells
              15                  Hall at The Parker on October 12, 2022.
              16        29.    Also, as an example of a pre-July 2, 2021 purchase: on June 4, 2021,
              17 Roberts used the Ticketmaster mobile site to purchase primary tickets to Guns N’
              18 Roses to be held at Hard Rock Live on October 3, 2021.
              19        30.    I did not locate any secondary ticket purchases by Plaintiff Jacob
              20 Roberts in the customer records database.
              21        31.    Certain events for which Roberts purchased tickets after July 2, 2021
              22 had special protocols related to COVID-19 in place when he made the purchase,
              23 while others did not. For instance, the Weird Al Yankovic: Unfortunate Return of
              24 the Ill-Advised Vanity Tour event at Lillian S. Wells Hall at The Parker on
              25 October 12, 2022 (¶ 28(i), above) had special protocols related to COVID-19 in
              26 place as of the date of Roberts’s ticket purchase. By contrast, the Sebastian Bach
              27 event at the Culture Room on November 6, 2021 (¶ 28(f), above) did not have any
              28 special COVID-19 protocols in place as of the date of Roberts’s ticket purchase.
                                                                            DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                               9                CASE NO. 2:22-CV-00047-GW-GJS
         Case 2:22-cv-00047-GW-GJS            Document 30-2     Filed 03/08/22     Page 11 of 11 Page
                                                   ID #:203

                   1        32.   I further directed a search of Ticketmaster’s customer records database
                   2 (which includes both Ticketmaster and Live Nation’s account creation data) for the
                   3 creation dates associated with the accounts that Roberts used to purchase these
                   4 tickets. Two accounts were used to make these purchases: one was created on
                   5 April 23, 2005, and one was created on August 30, 2021.
                   6
                   7        I declare under penalty of perjury that the foregoing is true and correct.
                   8 Executed on March 8, 2022.
                   9
              10
              11                                                                  Helene Green
              12
              13
              14
              15
              16
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28
                                                                                 DECLARATION OF HELENE GREEN
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  10                 CASE NO. 2:22-CV-00047-GW-GJS
